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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF ARKANSAS


UNITED STATES OF AMERICA

v.                                NO. 4:05CR00109 JLH

ROBERT PHILLIP BREVARD, III
aka ROB;
BRODERICK CHUNN, aka MONEY B.;
ALLISON MTHIMKHULU
STEPHEN BURKS


              AMENDED PRELIMINARY ORDER OF FORFEITURE

     This matter came before the Court on the Motion of the

United States to amend the Preliminary Order of Forfeiture

entered on March 1, 2006, to include the forfeiture of $6,375.40

in U. S. Currency from defendant Broderick Chunn, aka Money B.

     1.    The defendant Broderick Chunn, aka Money B., pled

guilty to Count 1 of the Second Superseding Indictment and signed

a Plea Agreement on July 19, 2005.       The Court entered an Order

dated February 27, 2006, amending the Judgment and Commitment

Order to include the forfeiture of $6,375.40.

     2.    The United States requests that all of the above stated

defendants, STEPHAN BURKS, ALLISON MTHIMKHULU, ROBERT PHILLIP

BREVARD, III, aka ROB, and BRODERICK CHUNN, aka MONEY B. shall

forfeit to the United States the following:

     a.    A sum of money equal to approximately $19,900.00 in
           U. S. Currency representing the amount of proceeds
           obtained as a result of the offense set forth in Count
           1;

     b.    A 2001 Dodge Dakota Truck VIN # 1B7HL2AX91S262414
           seized from STEPHEN BURKS;
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     c.   Approximately $11,388.00 seized from ALLISON
          MTHIMKHULU;

     d.   $6,375.40 in U. S. Currency seized from BRODERICK CHUNN
          aka Money B.;


     WHEREFORE, the Preliminary Order of Forfeiture that was

entered on March 1, 2006, is amended to include the forfeiture of

$6,375.40 in U. S. Currency from defendant Broderick Chunn, aka

Money B., and the United States shall have clear title to the

property set forth above following the Court’s disposition of all

third-party interests, or, if none, following the expiration of

the period provided in Title 21, United States Code, Section

853(n)(2) for the filing of third party petitions.

     The Court shall retain jurisdiction to enforce this Order,

and to amend it as necessary, pursuant to Fed.R.Crim.P. 32.2(e).

     IT IS SO ORDERED this 20th day of June, 2006.




                                 UNITED STATES DISTRICT JUDGE
